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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


WILLIAM MURRAY and JUNE OMURA,
               Plaintiffs,
                                                       NOTICE OF UNOPPOSED MOTION
                                                       OF THE INSTITUTE FOR POLICY
       v.
                                                       INTEGRITY AT NEW YORK
                                                       UNIVERSITY SCHOOL OF LAW TO
ANDREW WHEELER, in his official capacity as
                                                       FILE AN AMICUS CURIAE BRIEF IN
Administrator of the U.S. Environmental Protection
Agency, the U.S. ENVIRONMENTAL
                                                       SUPPORT OF PLAINTIFFS’
PROTECTION AGENCY and R.D. JAMES, in his               MOTION FOR SUMMARY
official capacity as the Assistant Secretary of the    JUDGMENT
Army (Civil Works) and the U.S. ARMY CORPS
OF ENGINEERS,                                          No. 1:19-cv-1498-LEK/TWD

               Defendants.




       PLEASE TAKE NOTICE, upon the Affirmation of Max Sarinsky, Attorney for the

Institute for Policy Integrity at New York University School of Law, dated September 17, 2020,

and upon all the papers filed and proceedings had, the undersigned hereby moves the Court for

leave to file the accompanying amicus curiae brief in the above-captioned case in support of

Plaintiffs’ Motion for Summary Judgment. The undersigned has conferred with counsel for all

parties, and this motion is unopposed.

       Dated: September 17, 2020              Respectfully submitted,
                                              /s/ Max Sarinsky
                                              Max Sarinsky
                                              INSTITUTE FOR POLICY INTEGRITY
                                              139 MacDougal Street, Third Floor
                                              New York, NY 10012
                                              (212) 992-8932
                                              max.sarinsky@nyu.edu
                                              Counsel for Amicus Curiae
                                              Institute for Policy Integrity
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 17, 2020, I electronically filed the Notice of Unopposed

Motion of the Institute for Policy Integrity at New York University School of Law to File an

Amicus Curiae Brief in Support of Plaintiffs’ Motion for Summary Judgment, along with the

Declaration, Memorandum of Law, and exhibit accompanying that motion, with the Clerk using

the CM/ECF system, which I understand to have caused service of the filing to all counsel of

record.

          Dated: September 17, 2020            Respectfully submitted,
                                               /s/ Max Sarinsky
                                               Max Sarinsky
                                               INSTITUTE FOR POLICY INTEGRITY
                                               139 MacDougal Street, Third Floor
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                                               Counsel for Amicus Curiae
                                               Institute for Policy Integrity
